                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                          )
                                                    )
                        Plaintiff,                  )
                                                    )
 v.                                                 )             No. 3:06-CR-147
                                                    )             (VARLAN/GUYTON)
 CEDRIC DEON CLARK,                                 )
                                                    )
                        Defendant.                  )

                                 MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate. This matter is before the Court for consideration of Defendant’s

 Motion for Contact Visit [Doc. 119], filed April 30, 2007.

                In his motion, Defendant requests a contact visit with his three children. In support

 thereof, Defendant states that he has been in custody since January 9, 2007, has entered plea

 agreements, and is awaiting sentencing on June 21, 2007. Defendant also states that he has not been

 allowed a contact visit with his three children who range in age from four to seven. In response

 [Doc. 125], the government states that it defers to the polices of the United States Marshals Service

 and the Knox County Sheriff who runs the Knox County Detention Facility where the Defendant

 is in custody. The Court was advised by the United States Marshals Service that, due to safety

 concerns and the risks of contraband being smuggled into the facility, contact visits are not allowed.

                Contact visits pose a great risk to prison security. See Mitchell v. Dixon, 862 F.

 Supp. 95, 97 (E.D.N.C. 1994). As such, “‘[P]rison administrators [are to be] accorded wide-ranging




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 deference in the adoption and execution of policies and practices that in their judgment are needed

 to preserve internal order and discipline and to maintain institutional security.’” Block v.

 Rutherford, 468 U.S. 576, 585 (1984) (citing Bell v. Wolfish, 441 U.S. 520, 547 (1979)) (alterations

 in original). Defendant has failed to cite to any law which allows this Court to craft a visitation

 policy in this instance. Accordingly, the Court defers to the United States Marshals Service and the

 Knox County Sheriff for visitation determinations at the Knox County Detention Facility.

 Defendant’s Motion for Contact Visit [Doc. 125] is DENIED.

                IT IS SO ORDERED.

                                                      ENTER:


                                                            s/ H. Bruce Guyton
                                                      United States Magistrate Judge




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